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-v- 05-20116-01-Ma W@%, ?‘Wj_l§;`[;%
CHERYL BANKS

Doris Randle-Hgltl FPD

Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or Atter November 1, 1987)

The defendant pleaded guilty to Count 1 of the |nformation on April 05, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section M_nss gteth Mt§)
18 U.S.C. § 641 Theft of Government Money 11/19/2001 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

lndictment # 04-20325 is dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until alt fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Imposition of Sentence:
Defendant’s Date of Birth: 05/12/1953 July 29, 2005
Deft’s U.S. N|arsha| No.: 19822-076

Defendant’s Residence Address:
7847 Nimitz Ftoad

Nli|lington, TN 38053 MM/lq/L_`

SAMUEL H. MAYS, JFt.
UN|TED STATES D|STR|CT JUDGE

 

August f , 2005

Thts dochent entered on the docket sh t in co piiance
w|th R\tla 55 and/ot 32fbt FRCrP on __MS

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Defendant Name: Cheryl Banl<s Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of one (1) year.

While on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDAFID COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
B. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl cr administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Cheryl Banks Page 3 of 4

10.

11.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

if this judgment imposes a fine or a restitution obligation, it shall be a condition cf supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1 . The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or
alcohol dependency which may include testing for the detection of substance use or
abuse. Further, the defendant shall be required to contribute to the costs of services
for such treatment not to exceed an amount determined reasonable by the Probation

Officer.

2. The defendant shall provide third-party risk notification

3. The defendant shall cooperate in the collection of DNA as directed by the Probation
Officer.

4. The defendant shall pay restitution in regular monthly installments of not less than

10% of gross monthly income.

5. The defendant shall notify the U.S. Attorney and the Court of any material change
in economic circumstances that may affect defendant’s ability to pay restitution

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Case No: 05-20116-01-Ma
Defendant Name: Cheryl Banks Page 4 of 4

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Restitution
$25.00 $2,009.41

The Specia| Assessment shall be due immediately

F|NE
No fine imposed

REST|TUTION

Fiestitution in the amount of $2,009.41 is hereby ordered The defendant shall make
restitution to the following victims in the amounts listed below.

Priority Order
Total Amount Amount of or Percentage
Nnme of Payee of Loss Restitution Ordered of Payment

Navy Exchange $2,009.41 $2,009.41

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(1)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fieasons page

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-201 16 Was distributed by faX, mail, or direct printing on
August 1], 2005 to the parties listed.

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

